Case: 4:18-cV-OB:/S'9TB'VEW&"1QH& D§%'§l§)f'%%l*%e%g@r ,

/~T>,¢ 1"/,£, /l/M.' 7"5¢',2/1) D/g #¢/¢faPOé/b

 

 

L§`/}$ZZ-'/€/V /9/£//3/19//“’
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/< FAZ{NB_;:':;)M l C-ASc-” /Vol.‘i:' /‘3 ‘<‘_v" 739
VS' F\LED " J‘W"c»' QFNITA K p¢rM¢s_o/u _
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JH”"" 55 C . EJ/f /V 5 E 7" mg§?\§lzu s. D\sTR\cTO%oém]
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16 v. ` , . '
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pagem?»/F 759 z=sq.§.`;¢ /?/6'£;2 415/pb yo/ju;;::y§::§f;§;f§ 0
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15 *

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q f CJ/‘f? , di , /{§," f / / {}é "
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: 40¢¢))") A‘-H/ D/"/cf¢'/’?'/FSQMFW 51 t n ‘
D£:):HVC{/;A) ://;#V;»;?[é,a/AJV j/:»p¢/U n E'/pc)gg §A [;/?.¢7§ (Ar§ /f'/E»f-fgj,p
pj/z»;)zc:/:FC ii f"‘f 1¢0 Kf-‘//-’-""/":¢ ,_[€.s,p¢/ Ca/ch/Q§`m/v§ dyes fdc"§»y'/dv¢ ¢:
:D/ /¢#O,?!¢M,/,¢ //€6¢¢ Y,L/@/V; "f/¢§é¢,eo//g(,??>é,;/Cl@p?)/ f§é>£/'.S,Gé)§ c"°? ?

£.M//S 5

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/ v 57§9;,£,6, -fj ngj./r_c d@r~¢/>[/r/,-¢fw/+§ béou(¢/‘{aNO/¢’/£ 42 L/;£[’I
/C/%“<¢»)c¢) 710 412 ¢/.. ;,cq /$gg<,z)¢@) /¢,:.~ newmer ha wci
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+/ 9/’;5' A-f’/?/Uj/ AF/Aé_f 1515 B£¢‘W/v wAJ /?(F PAA// d¢f,€€,w@é,,,;‘

//V j/§ /9/70 F£)/Z»~¢r,¢ /k/m/,~.//g/[*}?S£:e

C’)

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§E'c‘/`/WJ ’93§(3) )¢),9///£`5 45 BzowWA;//vja.e€¢/éy dej»€¢)//,¢;A/ A,/y

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/;}»/v[/ F€ F'l'?’/CD“¢//?f 725 /,4¢£€ J`QLS;M%¢/@"szlz¢//¢ZM/ J%
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D£ow/v f/;//; //vjé /7%¢*»' §'£e%W/§F C/A$$~L,¢;// //:*C//'/;ou.$ c~//M/¢//v/..
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c/m,,/ 0/.///4/@£)& »o%w»w g~@é'/z 42¢/¢5»61/7$34,</ /sg_(
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mr /¢-/@#/ M,#M%

J /+.s
M%/O‘°‘""LG{’W"'€' Z£}f»;ld 0): £ZZFZZ;/v»/
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7/`° jay/cng /757*5°""* /’V ”//’“~T“"‘z’/ nofei“/)/ c/#MAéE/r,./C/
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4 5 /[m§ FFW §c:' /'/p /;7_¢‘ am ”'"//’;""{¢¢7¢'¢" 'O¢ /’/22$¢'¢1»%22/4/
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/l/o co/y/,£h//¢;f .$/§¢1//:/ //\/ %E' pga ,<:¢9¢»,4 c/e, ,.,,/,,,/’,/

Hg/aa¢¢/ 0 F féy/e’ u. BAOQM/,

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IN <`M<:Aa§zo/v

 

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01€/5/0/4/<1/£0“»1¢»£¢%/&1\) ¢9/ %’/F- /////p v/;Z»~,p /AJ j/O¢;/¢/_§
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H ¢m/o/v/ 96!9 1/330/~,>0; 7

§ F"-’("F/ ¢ 919 QF face u/E

I;MFV/`N /Vl 134°\»0/\), ¢[o h€'.u-'A ca-',ul/`F 7%47£4 59/°>’0":7&7'
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M@W-/ mmf 5, ;;,//F¢/, ,,f,QFH/~@M c@. wm n »/ /%¢///w//?lm
C€/V?LL_+ // 56! fE/»?W//owvé; .{-@¢`M,/ %Fp ¢/¢§b;, /4//1»//¢’¢/'/%¢'/ %~’_eg_l_v.`?
c//;)/ pp JL/§( 229/55 war /~J-h+u,?§p~v/H m /.r/_cé»w, /;/zs 756/45§///)[/ /’/A///

"“’é'“’f""'""/””’°‘{ M

(3)

